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IN THE UNITED STATES DISTRICT COURM DEC -7 PM 3: 46
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION seputy SUERK Dae
UNITED STATES OF AMERICA

Vv. No. 4:22-CR-333-O

[Supersedes Indictment filed on November 9,
2022, as to Defendant Mallory only.]

MARCEL MALLORY (04)
SUPERSEDING INFORMATION
The United States Attorney Charges:
Count One

Conspiracy to Possess with Intent to Distribute a Controlled Substance
(Violation of 21 U.S.C. § 846)

Beginning in or before December 2021, and continuing in and around August
2022, in the Fort Worth Division of the Northem District of Texas, and elsewhere,
defendant Marcel Mallory, along with others both known and unknown, did knowingly
and intentionally combine, conspire, confederate, and agree to engage in conduct in
violation of 21 U.S.C. § 841(a)(1) and (b)(1)(B), namely to possess with intent to
distribute 50 grams or more of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance.

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In violation of 21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(1) and (b)(1)(B)).

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